JS 44 (Rev. 10/20)           Case 3:20-cv-00719-DPJ-FKB DocumentSHEET
                                                 CIVIL COVER               3:20-cv-719-DPJ-FKB
                                                                 1-6 Filed 11/09/20   Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          Clifton Jackson, Helen Noel and William Noel                                                          City of Jackson

    (b)   County of Residence of First Listed Plaintiff                Hinds County                            County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
          Brent Hazzard & Emily C. Bradley
          Hazzard Law, LLC 447 Northpark Drive Ridgeland, MS
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY              PERSONAL INJURY                    625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product            Product Liability               690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability              367 Health Care/                                                                                           400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &            Pharmaceutical                                                       PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                    Personal Injury                                                       820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’          Product Liability                                                     830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability              368 Asbestos Personal                                                     835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                      Injury Product                                                            New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product              Liability                                                             840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability             PERSONAL PROPERTY                             LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle           370 Other Fraud                     710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle           371 Truth in Lending                    Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability       380 Other Personal                  720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal              Property Damage                     Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                  385 Property Damage                 740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -           Product Liability               751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS             PRISONER PETITIONS                   790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation            ✖   440 Other Civil Rights      Habeas Corpus:                      791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                  463 Alien Detainee                      Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment              510 Motions to Vacate                                                    870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                    Sentence                                                                 or Defendant)                 896 Arbitration
    245 Tort Product Liability               Accommodations          530 General                                                              871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -  535 Death Penalty                       IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment              Other:                              462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -  540 Mandamus & Other                465 Other Immigration                                                  950 Constitutionality of
                                             Other                   550 Civil Rights                        Actions                                                                State Statutes
                                         448 Education               555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 USC 1983
VI. CAUSE OF ACTION                          Brief description of cause:
                                             Violation of Civil Rights of the consumers of water/sewer from the City of Jackson
VII. REQUESTED IN                            ✖    CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                               TBD                                         JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
11/9/20                                                                     s/ Brent Hazzard
FOR OFFICE USE ONLY
                                  0538-4412406
    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
